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                                        Exhibit B

                                    Bidding Procedures




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ x
                                                             :
In re                                                        :        Chapter 11
                                                             :
BROOKS BROTHERS GROUP, INC., et al., :                                Case No. 20–11785 (CSS)
                                                             :
                                               1
                                    Debtors.                 :        (Jointly Administered)
                                                             :
------------------------------------------------------------ x

                                         BIDDING PROCEDURES

                                                     Overview

        On July 8, 2020 (the “Petition Date”), Brooks Brothers Group, Inc. (“Brooks Brothers”)
and its debtor affiliates, as debtors and debtors in possession (collectively, the “Debtors”), filed
voluntary petitions for relief under chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”). The Debtors’ chapter 11 cases have been consolidated for procedural
purposes under the lead case, In re Brooks Brothers Group, Inc., et al., Case No 20-11785 (CSS)
(the “Chapter 11 Cases”).

        On [●], 2020, the Bankruptcy Court entered an order (D.I. No. [●]) (the “Bidding
Procedures Order”),2 which approved these procedures (the “Bidding Procedures”) for the
selection of the highest or otherwise best offer or collection of offers to acquire substantially all of
the Debtors’ assets (the “Assets”) (subject to certain exceptions) on the terms and conditions set
forth herein.

       SPARC Group LLC (the “Stalking Horse Bidder”) has submitted a bid and has executed
that certain Asset Purchase Agreement (together with the exhibits thereto, and as it may be
amended, modified, or supplemented from time to time in accordance with the terms thereof, the
“Stalking Horse Agreement”), executed on July 23, 2020. The Stalking Horse Agreement
contemplates, pursuant to the terms and subject to the conditions contained therein, the sale of
substantially all of the Assets to the Stalking Horse Bidder in exchange for the following: (i) an

1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are Brooks Brothers Group, Inc. (8883); Brooks Brothers Far East Limited (N/A); BBD
    Holding 1, LLC (N/A); BBD Holding 2, LLC (N/A); BBDI, LLC (N/A); Brooks Brothers International, LLC
    (N/A); Brooks Brothers Restaurant, LLC (3846); Deconic Group LLC (0969); Golden Fleece Manufacturing
    Group, LLC (5649); RBA Wholesale, LLC (0986); Retail Brand Alliance Gift Card Services, LLC (1916); Retail
    Brand Alliance of Puerto Rico, Inc. (2147); and 696 White Plains Road, LLC (7265). The Debtors’ corporate
    headquarters and service address is 346 Madison Avenue, New York, New York 10017.
2
    Unless otherwise indicated, capitalized terms used but not otherwise defined herein shall have the meanings
    ascribed to them in the Motion or Bidding Procedures Order, as applicable.




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aggregate Dollar (as defined in the Stalking Horse Agreement) amount equal to (A) $305,000,000
(the “Stalking Horse Cash Consideration”), minus (B) the amount of the Credit Bid (as defined
in the Stalking Horse Agreement) (if any), plus (C) the Estimated Inventory Adjustment Amount
(as defined in the Stalking Horse Agreement), minus (D) the Customer Deposit Balance, (ii) at the
option of the DIP Lenders, an aggregate credit bid of all or any portion of the DIP Obligations,
and (iii) the Stalking Horse Bidder’s assumption of the Assumed Liabilities (as defined in the
Stalking Horse Agreement) (collectively, the “Stalking Horse Bid”). The Stalking Horse Bid sets
the floor for the sale and is subject to higher or otherwise better offers submitted in accordance
with the terms and conditions of these Bidding Procedures.

                                 Summary of Important Dates

        These Bidding Procedures provide interested parties the opportunity to submit competing
bids for all or any portion of the Assets, and to participate in an auction to be conducted by the
Debtors (the “Auction”).

       The key dates for the sale process are as follows. Such dates may be extended or otherwise
modified by the Debtors, after consultation with counsel to the Committee and the Prepetition
ABL Agent (each as defined in the Motion), by filing a notice of such extension or modification
on the Court’s docket:




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                              Key Event                                          Deadline
     Deadline to Submit Bids                                    August 5, 2020 at 10:00 a.m.
                                                                (prevailing Eastern Time)
     Deadline for Debtors to Notify Bidders of Status           August 6, 2020 at 4:00 p.m.
     as Qualified Bidders                                       (prevailing Eastern Time)
     Auction to be Held if the Debtors Receive More             August 7, 2020 at 10:00 a.m.
     Than One Qualified Bid                                     (prevailing Eastern Time)
     Deadline to File Objections to Sale Transaction            August 7, 2020 at 4:00 p.m.
                                                                (prevailing Eastern Time)
     Deadline to (i) File Notice and Identities of              August 9, 2020 at 4:00 p.m.
     Successful Bid(s) and Back-Up Bid(s) and (ii)              (prevailing Eastern Time) or as soon
     Provide Affected Counterparties With the                   as is practicable after the Auction
     Successful Bidder’s Proposed Form of Adequate
     Assurance of Future Performance With Respect to
     Proposed Assigned Contracts, if Applicable
     Deadline to File Objections to (i) Identity of             August 10, 2020 at 11:59 p.m.
     Successful Bidder, (ii) Conduct of Auction, (iii)          (prevailing Eastern Time)
     Cure, and (iv) Adequate Assurance
     Deadline to Reply to Objections to (i) Sale            August 11, 2020 at 11:59 a.m.
     Transaction, (ii) Identity of Successful Bidder, (iii) (prevailing Eastern Time)
     Conduct of Auction, (iv) Cure, and (v) Adequate
     Assurance
     Sale Hearing                                               August 11, 2020 at 2:00 p.m.
                                                                (prevailing Eastern Time)

                                           Property To Be Sold

       The Debtors seek to sell all or substantially all of the Assets to one or more purchasers
(each sale in furtherance of the same, a “Sale Transaction”).

                                               Due Diligence

        The Debtors have posted copies of all material documents related to the Assets to the
Debtors’ confidential electronic data room (the “Data Room”). To access the Data Room, an
interested party must submit to the Debtors or their advisors the following:

          (A)       an executed confidentiality agreement in form and substance reasonably
                    satisfactory to the Debtors (unless such party is already a party to an existing
                    confidentiality agreement with the Debtors that is acceptable to the Debtors for this
                    due diligence process, in which case such agreement shall govern); and

          (B)       sufficient information, as reasonably determined by the Debtors, to allow the
                    Debtors to determine that the interested party (i) has the financial wherewithal to



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                    consummate the applicable Sale Transaction and (ii) intends to access the Data
                    Room for a purpose consistent with these Bidding Procedures.

        Each interested party that meets the above requirements to the satisfaction of the Debtors
shall be a “Potential Bidder.” As soon as practicable, the Debtors will provide all Potential
Bidders access to the Data Room; provided, that such access will be terminated by the Debtors in
their reasonable discretion at any time, including if (i) a Potential Bidder does not become a
Qualified Bidder or (ii) these Bidding Procedures are terminated.

       Each Potential Bidder shall comply with all reasonable requests for information and due
diligence access by the Debtors or their advisors regarding the ability of such Potential Bidder to
consummate the applicable Sale Transaction.

        Until the Bid Deadline, the Debtors will provide all Potential Bidders with reasonable
access to the Data Room and any additional information requested by Potential Bidders that the
Debtors believe to be reasonable and appropriate under the circumstances. All additional due
diligence requests shall be directed to the Debtors’ advisors, PJ Solomon, L.P., at
(projectblazer@pjsolomon.com). Unless prohibited by law or otherwise determined by the
Debtors, the availability of additional due diligence to a Potential Bidder will cease if (i) the
Potential Bidder does not become a Qualified Bidder or (ii) these Bidding Procedures are
terminated.

                Neither the Debtors nor any of their representatives shall be obligated to furnish
any information of any kind whatsoever relating to the Assets (i) to any person or entity who (a) is
not a Potential Bidder; (b) does not comply with the participation requirements set forth above; or
(c) in the case of competitively sensitive information, is a competitor of the Debtors (except
pursuant to “clean team” or other information sharing procedures reasonably satisfactory to the
Debtors) and (ii) to the extent not permitted by law.

                                  Auction Qualification Procedures

                                             Bid Deadline

        A Potential Bidder that desires to make a bid (a “Bid”) on some or all of the Assets shall
deliver electronic copies of the Bid, so as to be received no later than August 5, 2020 at 10:00
a.m. (prevailing Eastern Time) (the “Bid Deadline”); provided, that the Debtors may extend the
Bid Deadline without further order of the Bankruptcy Court subject to providing prior notice to all
Potential Bidders, the Stalking Horse Bidder, and counsel to the Committee and Prepetition ABL
Agent. The submission of a Bid by the Bid Deadline shall constitute a binding and irrevocable
offer to acquire the Assets specified in such Bid. Any party that does not submit a Bid by the
Bid Deadline will not be allowed to (i) submit any offer after the Bid Deadline or (ii) participate
in the Auction.




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          Bids must be submitted by email to the following:

                                         Weil, Gotshal & Manges LLP
                                           jackie.cohen@weil.com
                                             garrett.fail@weil.com
                                           davidj.cohen@weil.com

                                                PJ Solomon, L.P.
                                           dshiffman@pjsolomon.com
                                             dpitts@pjsolomon.com

                                     Form and Content of Qualified Bids

        A Bid must contain a signed document from a Potential Bidder received by the Bid
Deadline that identifies the purchaser by its legal name and any other party that will be
participating in connection with the Bid. To constitute a “Qualified Bid” a Bid must include, at a
minimum, the following:

          (A)       Acquired Property. Each Bid must clearly identify in writing the particular Assets
                    the Potential Bidder seeks to acquire from the Debtors. For the avoidance of doubt,
                    a Qualified Bid may include a bid for less than all or substantially all of the Assets.3

          (B)       Purchase Price; Assumed Liabilities; Form of Consideration; Credit Bid. Each Bid
                    must clearly set forth, as applicable:

                    (i)       Purchase Price. Each Bid must specify the price (the “Purchase Price”)
                              proposed to be paid for the Assets, which Purchase Price must include an
                              amount in cash sufficient to satisfy the Termination Payment (as defined
                              herein) of 10,150,000.4

                    (ii)      Assumed Liabilities. Each Bid must clearly identify the particular
                              liabilities, if any, the Potential Bidder seeks to assume.

                    (iii)     Form of Consideration. Each Bid must (a) indicate (x) whether it is an all-
                              cash offer (including confirmation that the cash component of the Bid is
                              based in U.S. Dollars) or consists of certain non-cash components, such as
                              a credit bid and/or the assumption of liabilities and (y) the allocation of the
                              Purchase Price among the Assets to be acquired and the liabilities to be
                              assumed, if applicable; and (b) provide sufficient cash consideration
                              specifically designated for the payment of the Termination Payment.


3
    The Debtors will consider a Qualified Bid for less than all or substantially all of the Assets, as long as the Debtors
    have an acceptable sale, restructuring, or other solution for the remaining Assets, as determined by the Debtors.
4
    “Termination Payment,” as defined in the Stalking Horse Agreement, means the sum of the Break-Up Fee and
    the Expense Reimbursement (each as defined in the Stalking Horse Agreement).




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                    (iv)      Credit Bid. Persons or entities holding a perfected security interest in the
                              Assets may, pursuant to section 363(k) of the Bankruptcy Code, seek to
                              submit a “credit bid” on such Assets, to the extent permitted by applicable
                              law, any Bankruptcy Court orders, and the documentation governing the
                              Debtors’ prepetition or postpetition secured credit facilities. If the credit
                              bid is submitted for any portion of the Assets, such Bid shall include an
                              amount sufficient to pay the Termination Payment in cash. To the extent
                              applicable, a credit bid must include a copy of the direction by the
                              applicable lenders to the applicable agent to authorize the submission of
                              such credit bid. A credit bid must include a commitment to provide cash
                              consideration sufficient to pay in full all costs associated with winding
                              down the Debtors’ chapter 11 cases (including the Termination Payment
                              payable to the Stalking Horse Bidder under the terms of the Stalking Horse
                              Agreement). In the event of a competing Qualified Bid, the Stalking Horse
                              Bidder will be entitled, but not obligated, to submit overbids and will be
                              entitled in any such overbids (a) to credit bid all or a portion of the value of
                              the secured portion of its claims (if any) pursuant to section 363(k) of the
                              Bankruptcy Code; and (b) receive dollar-for-dollar credit for the amount of
                              the Termination Payment.

          (C)       Proposed Asset/Stock Purchase Agreement. Each Bid must include, in both PDF
                    and MS-WORD format, an executed purchase agreement (the “Proposed
                    Purchase Agreement”), together with a copy of the same that has been marked
                    against the Stalking Horse Agreement, a copy of which is located in the Debtors’
                    data room.

          (D)       Unconditional Offer. A commitment that the Bid is formal, binding, and
                    unconditional (except for those conditions expressly set forth in the Proposed
                    Purchase Agreement), is not subject to any due diligence or financing contingency,
                    and is irrevocable until the Debtors notify such Potential Bidder that such Bid has
                    not been designated as a Successful Bid or a Back-Up Bid, or until the first business
                    day after consummation of a Sale Transaction with the Successful Bidder. In the
                    event a Bid is chosen as a Back-Up Bid, it must remain irrevocable until the Back-
                    Up Bid Expiration Date (as defined herein).

          (E)       Proof of Financial Ability to Perform. Each Bid must contain such financial and
                    other information that allows the Debtors to make a reasonable determination as to
                    the Potential Bidder’s financial and other capabilities to consummate the applicable
                    Sale Transaction, including, without limitation, such financial and other
                    information setting forth the Potential Bidder’s willingness to perform under any
                    contracts that are assumed and assigned to such party. Without limiting the
                    foregoing, such information must include current financial statements or similar
                    financial information certified to be true and correct as of the date thereof, proof of
                    financing commitments (if needed) to close the applicable Sale Transaction (not
                    subject to, in the Debtors’ sole discretion, any unreasonable conditions), contact
                    information for verification of such information, including any financing sources,
                    and any other information reasonably requested by the Debtors necessary to


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                    demonstrate that the Potential Bidder has the ability to close the applicable Sale
                    Transaction in a timely manner.

          (F)       Designation of Contracts and Leases. Each Bid must identify with particularity
                    each executory contract and unexpired lease, the assumption and assignment of
                    which is a condition to closing the applicable Sale Transaction (collectively, the
                    “Proposed Assigned Contracts”). Each Bid must also include information
                    demonstrating adequate assurance of future performance under such Proposed
                    Assigned Contracts in satisfaction of the requirements under section 365(f)(2)(B)
                    of the Bankruptcy Code.

          (G)       Required Approvals. A statement or evidence (i) that the Potential Bidder has made
                    or will make in a timely manner all necessary filings under the Hart-Scott-Rodino
                    Antitrust Improvements Act of 1976, as amended, or other antitrust laws, as
                    applicable, and pay the fees associated with such filings; (ii) of the Potential
                    Bidder’s plan and ability to obtain all requisite governmental, regulatory, or other
                    third-party approvals and the proposed timing for the Potential Bidder to undertake
                    the actions required to obtain such approvals; and (iii) that the Bid is reasonably
                    likely (based on antitrust or other regulatory issues, experience, and other
                    considerations) to be consummated, if selected as the Successful Bid, within a time
                    frame acceptable to the Debtors after consultation with the professionals to the
                    Committee and the Prepetition ABL Agent. A Potential Bidder further agrees that
                    its legal counsel will discuss with and explain to the Debtors’ legal counsel such
                    Potential Bidder’s regulatory analysis, strategy, and timeline for securing all such
                    approvals as soon as reasonably practicable.

          (H)       Disclosure of Identity and Corporate Authorization. Each Bid must (i) fully
                    disclose, by their legal names, the identity of the Potential Bidder and each entity
                    that will be participating in its bid, and the complete terms of any such participation,
                    and (ii) include evidence of corporate authorization and approval from the Potential
                    Bidder’s board of directors (or comparable governing body) with respect to the
                    submission, execution, and delivery of a Bid, participation in the Auction, and
                    closing of the transactions contemplated by the Potential Bidder’s Proposed
                    Purchase Agreement in accordance with the terms of the Bid and these Bidding
                    Procedures.

          (I)       Employee Obligations. Each Bid must (i) specify whether the Qualified Bidder
                    intends to hire all of the Debtors’ employees and (ii) expressly propose the
                    treatment of the Debtors’ prepetition compensation, incentive, retention, bonus or
                    other compensatory arrangements, plans, or agreements, including, offer letters,
                    employment agreements, consulting agreements, severance arrangements,
                    retention bonus agreements, change in control arrangements, retiree benefits, and
                    any other employment related agreements (collectively, the “Employee
                    Obligations”). Each bid must state whether the Qualified Bidder will or will not
                    assume the Brooks Brothers Pension Plan and/or the Retail Brand Alliance, Inc.
                    Pension Plan.




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          (J)       No Entitlement to Break-Up Fee, Expense Reimbursement, or Other Amounts.
                    Each Bid (other than the Stalking Horse Bid) must include a statement that the Bid
                    does not entitle the Potential Bidder to any break-up fee, termination fee, expense
                    reimbursement or similar type of payment or reimbursement, and a waiver of any
                    substantial contribution administrative expense claims under section 503(b) of the
                    Bankruptcy Code related to the bidding process.

          (K)       Joint Bids. The Debtors will be authorized to approve joint Bids, including joint
                    credit bids, in their reasonable discretion on a case-by-case basis.

          (L)       Representations and Warranties. Each Bid must include the following
                    representations and warranties:

                 (i)          a statement that the Potential Bidder has had an opportunity to conduct any
                              and all due diligence regarding the applicable Assets prior to submitting its
                              Bid;

                (ii)          a statement that the Potential Bidder has relied solely upon its own
                              independent review, investigation, and/or inspection of any relevant
                              documents, as well as the Assets and the liabilities to be assumed (as
                              applicable), in making its Bid and did not rely on any written or oral
                              statements, representations, promises, warranties, or guaranties whatsoever,
                              whether express or implied, by operation of law or otherwise, regarding
                              such Assets or liabilities or the completeness of any information provided
                              in connection therewith, except as expressly stated in the representations
                              and warranties contained in the Potential Bidder’s Proposed Purchase
                              Agreement;

                (iii)         a statement that the Potential Bidder agrees to serve as Back-Up Bidder, if
                              its Bid is selected as the next highest or next best bid after the Successful
                              Bid with respect to the applicable Assets;

                (iv)          a statement that the Potential Bidder has not engaged in any collusion with
                              respect to the submission of its Bid;

                 (v)          a statement that all proof of financial ability to consummate the applicable
                              Sale Transaction in a timely manner and all information provided to support
                              adequate assurance of future performance is true and correct; and

                (vi)          a statement that the Potential Bidder agrees to be bound by the terms of the
                              Bidding Procedures.

          (M)       Additional Requirements. A Potential Bidder must also accompany its Bid with:

                    (i)       a Deposit (as defined herein), except as otherwise set forth herein;




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                    (ii)      the contact information of the specific person(s) whom the Debtors or their
                              advisors should contact in the event that the Debtors have any questions or
                              wish to discuss the Bid submitted by the Potential Bidder;

                    (iii)     written evidence of available cash, a commitment for financing (not subject
                              to any conditions other than those expressly set forth in the Proposed
                              Purchase Agreement) and such other evidence of ability to consummate the
                              transaction contemplated by the Proposed Purchase Agreement, the Bidding
                              Procedures Order, and the Bidding Procedures, as acceptable in the
                              Debtors’ business judgment;

                    (iv)      the identity of each entity that will be participating in connection with such
                              Bid and taking ownership of the Assets (including any equity owners or
                              sponsors, if the Potential Bidder is an entity formed for the purpose of
                              consummating the Sale Transaction) and a copy of a board resolution or
                              similar document demonstrating the authority of the Potential Bidder to
                              make a binding and irrevocable bid on the terms proposed and to
                              consummate the transaction contemplated by the Proposed Purchase
                              Agreement;

                    (v)       a covenant to cooperate with the Debtors to provide pertinent factual
                              information regarding the Potential Bidder’s operations reasonably required
                              to analyze issues arising with respect to any applicable antitrust laws and
                              other applicable regulatory requirements; and

                    (vi)      a detailed analysis of the value of any non-cash component of the Bid, if
                              any, and back-up documentation to support such value.

                                Review of Bids; Designation of Qualified Bids

        The Debtors will evaluate all Bids that are timely submitted and may engage in negotiations
with Potential Bidders who submitted Bids as the Debtors deem appropriate, in the exercise of
their business judgment, based upon the Debtors’ evaluation of each Bid.

        The Debtors shall determine, in their reasonable judgment, which of the Bids received by
the Bid Deadline qualify as a “Qualified Bid” (each Potential Bidder that submits such a Qualified
Bid being a “Qualified Bidder”) and shall notify each Qualified Bidder of its status as a Qualified
Bidder by no later than August 6, 2020 at 4:00 p.m. (prevailing Eastern Time) (the “Qualified
Bid Deadline”). To the extent reasonably practicable, counsel to the Debtors shall provide
summaries of the material terms of each Qualified Bid to the counsel to the Committee and
Prepetition ABL Agent on a professionals’ eyes only basis at least twenty-four (24) hours prior to
the Auction. Notwithstanding anything to the contrary in these Bidding Procedures, the Stalking
Horse Bidder shall be deemed to be a Qualified Bidder and the Stalking Horse Bid or any
subsequent overbid by the Stalking Hose Bidder at the Auction shall be deemed to be a Qualified
Bid; provided, that the Debtors reserve the right to determine in their discretion that any such
overbid as to which the Stalking Horse Bidder does not agree to serve as a Back-Up Bidder is not
a Qualified Bid.



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        Without the written consent of the Debtors, a Qualified Bidder may not modify, amend, or
withdraw its Qualified Bid, except for proposed amendments to increase the Purchase Price or
otherwise improve the terms of its Qualified Bid during the period that such Qualified Bid remains
binding as specified herein; provided, that any Qualified Bid may be improved at the Auction as
set forth in these Bidding Procedures; provided, further, that the Stalking Horse Bid may be
modified and/or amended pursuant to its terms. The Debtors reserve the right to work with any
Potential Bidder in advance of the Auction to cure any deficiencies in a Bid that is not initially
deemed a Qualified Bid and to clarify or otherwise improve such Bid such that it may be designated
a Qualified Bid.

        In evaluating the Bids, the Debtors may take into consideration the following non-binding
factors:

          1.        the amount and the form of consideration of the Purchase Price (provided that for
                    purposes of evaluating competing Bids, every dollar of a credit bid (including,
                    without limitation, any credit bid by the Stalking Horse Bidder of the amount of the
                    Termination Payment) shall be treated the same as a dollar from a cash or other
                    non-cash Bid, and a credit bid shall not be considered inferior to a comparable cash
                    or other non-cash Bid because it is a credit bid);

          2.        the assets and liabilities included in or excluded from the Bid, including any
                    executory contracts, unexpired leases, or the Brooks Brothers Pension Plan and/or
                    the Retail Brand Alliance, Inc. Pension Plan proposed to be assumed;

          3.        the value to be provided to the Debtors under the Bid, including the net economic
                    effect upon the Debtors’ estates;

          4.        any benefit to the Debtors’ bankruptcy estates from any assumption or waiver of
                    liabilities;

          5.        the transaction structure and execution risk, including conditions to, timing of, and
                    certainty of closing, termination provisions, availability of financing and financial
                    wherewithal to meet all commitments, and required governmental or other
                    approvals;

          6.        the impact on employees and the proposed treatment of the Employee Obligations;

          7.        the impact on trade creditors;

          8.        the certainty of the Debtors being able to confirm a plan;

          9.        in the case of any overbid by the Stalking Horse Bidder, whether the Stalking Horse
                    Bidder has agreed to be a Back-Up Bidder with respect to such overbid; and

          10.       any other factors the Debtors may reasonably deem relevant consistent with their
                    fiduciary duties.




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                  Failure to Receive Qualified Bids Other Than Stalking Horse Bid

         If the Debtors do not receive any Qualified Bids (other than the Stalking Horse Bid) for
any of the Assets on the same or better terms as provided in the Stalking Horse Bid by the Bid
Deadline, the Debtors will not conduct the Auction and shall file a notice with the Bankruptcy
Court indicating that the Auction has been cancelled. The Debtors shall also publish such notice
on     the      website    of    their   claims     and     noticing    agent,    Prime    Clerk
(https://cases.primeclerk.com/brooksbrothers/, the “Claims Agent Website”). If the Debtors
receive no Qualified Bids other than the Stalking Horse Bid, the Stalking Horse Bidder shall be
deemed the Successful Bidder and the Stalking Horse Bid shall be deemed a Successful Bid.

                                              Deposit

        A Bid must be accompanied by a good faith cash deposit in the amount of no less than ten
percent (10%) of the Purchase Price (a “Deposit”), unless otherwise agreed to by the Debtors and
a Potential Bidder; provided, however, that, a Potential Bidder submitting a credit bid will not be
required to accompany its Bid with a Deposit for any portion of the Purchase Price that is a credit
bid, but shall be required to provide a Deposit for any portion of its Bid that is not a credit bid. A
Deposit must be deposited prior to the Bid Deadline with an escrow agent selected by the Debtors
(the “Escrow Agent”) pursuant to an escrow agreement to be provided by the Debtors. To the
extent a Qualified Bidder increases the Purchase Price before, during, or after the Auction, the
Debtors reserve the right to require that such Qualified Bidder adjust its Deposit so that it equals
ten percent (10%) of the increased Purchase Price. The requirements set forth in this “Deposit”
section do not apply to the Stalking Horse Bidder.

                                       Auction Procedures

         If the Debtors receive any Qualified Bids (other than the Stalking Horse Bid), the Debtors
will conduct the Auction on August 7, 2020 beginning at 10:00 a.m. (prevailing Eastern Time),
or on such other date as may be determined by the Debtors after consultation with the
Stalking Horse Bidder, counsel to the Committee and the Prepetition ABL Agent, either (i)
at the offices of Weil, Gotshal & Manges LLP, 767 Fifth Avenue, New York, New York 10153,
or (ii) virtually pursuant to procedures to be timely filed on the Bankruptcy Court’s docket.
Only Qualified Bidders will be eligible to participate in the Auction, subject to such limitations as
the Debtors may impose in good faith. In addition, professionals and/or other representatives of
the Debtors and of the Committee shall be permitted to attend and observe the Auction. Further,
any creditor of the Debtors may attend and observe the Auction; provided, that such creditor
provides the Debtors with written notice of its intention to attend the Auction on or before one (1)
business day prior to the Auction, which written notice shall be sent to proposed counsel for the
Debtors via electronic mail at gary.holtzer@weil.com; jackie.cohen@weil.com;
garrett.fail@weil.com; and davidj.cohen@weil.com. The Debtors may, in their sole discretion,
also establish a reasonable limit on the number of representatives and/or professional advisors that
may appear on behalf of or accompany Qualified Bidders or other creditors at the Auction.

        Each Qualified Bidder shall be required to confirm, both before and after the Auction, that
it has not engaged in any collusion with respect to the submission of any Bid, the bidding, or the
Auction.



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        At the Auction, bidding for the Assets will start with the highest or otherwise best purchase
price and/or terms received as determined by the Debtors in their sole discretion and will proceed
thereafter in minimum bid increments of not less than $1,000,000 (a “Minimum Overbid
Amount”). The Debtors reserve the right to adapt and may increase or decrease the Minimum
Overbid Amount at any time during the Auction. The Stalking Horse Bidder and other Qualified
Bidders may increase their bids at the Auction, including with cash, cash equivalents, or other
forms of consideration.

        The Debtors may, in the exercise of their business judgment, adopt rules for the Auction
consistent with these Bidding Procedures and the Bidding Procedures Order that the Debtors, after
consultation with the professionals to the Committee and the Prepetition ABL Agent, reasonably
determine to be appropriate to promote a competitive auction. Any rules adopted by the Debtors
will not unilaterally modify any of the terms of the Stalking Horse Bid (as it may be consensually
modified at the Auction), without the consent of the Stalking Horse Bidder. Any rules developed
by the Debtors will provide that all bids in the Auction will be made and received on an open basis,
and all bidders participating in the Auction will be entitled to be present for all bidding with the
understanding that the true identity of each bidder placing a bid at the Auction will be fully
disclosed to all other bidders participating in the Auction and that all material terms of each
Qualified Bid submitted in response to any successive bids made at the Auction will be disclosed
to all other bidders. Each Qualified Bidder will be permitted what the Debtors reasonably
determine to be an appropriate amount of time to respond to the previous bid at the Auction. The
Auction will be conducted openly and shall be transcribed or recorded.

        The Debtors may, in the exercise of their business judgment, identify the highest or
otherwise best Qualified Bid(s) as the successful bid(s) (a “Successful Bid” and, the bidder
submitting such bid, a “Successful Bidder”). The Debtors may also identify which Qualified
Bid(s) constitute the second highest or otherwise best bid(s) and, if applicable, the third highest or
otherwise best bid(s) and deem such second and third highest or otherwise best bid(s) each a back-
up bid (such bid(s) shall each be a “Back-Up Bid” and, the bidder submitting such bid, a “Back-
Up Bidder”). Back-Up Bid(s) shall remain open and irrevocable until the earliest to occur of (i)
the applicable outside date for consummation of the Sale Transaction set forth in the Back-Up Bid,
(ii) consummation of the Sale Transaction with a Successful Bidder, and (iii) the release of such
Back-Up Bid by the Debtors in writing (such date, the “Back-Up Bid Expiration Date”). If a
Sale Transaction with a Successful Bidder is terminated prior to the Back-Up Bid Expiration Date,
the Back-Up Bidder shall be deemed a Successful Bidder and shall be obligated to consummate
the Back-Up Bid as if it were a Successful Bid. Notwithstanding the foregoing, the Stalking Horse
Bidder may only be selected as a Back-Up Bidder with respect to the Stalking Horse Bid as set
forth in the Stalking Horse Agreement or any subsequent overbid with respect to which the
Stalking Horse Bidder has agreed to be a Back-Up Bidder. For the avoidance of doubt, nothing in
this “Auction Procedures” section shall alter the requirement that, if the Debtors receive no
Qualified Bids other than the Stalking Horse Bid, the Stalking Horse Bidder shall be deemed the
Successful Bidder and the Stalking Horse Bid shall be deemed a Successful Bid.

         Within one (1) business day after the Auction, (i) the Successful Bidder(s) shall submit to
the Debtors fully executed documentation memorializing the terms of the Successful Bid(s) and
(ii) the Back-Up Bidder(s) shall submit to the Debtors execution versions of the documentation
memorializing the terms of the Back-Up Bid(s). Except as provided in the Stalking Horse


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Agreement with respect to the Stalking Horse bidder, neither a Successful Bid nor a Back-Up Bid
may be assigned to any party without the consent of the Debtors.

        At any time before entry of an order approving any Sale Transaction, the Debtors reserve
the right to and may reject the applicable Qualified Bid (other than the Stalking Horse Bid) if such
Qualified Bid, in the Debtors’ judgment, is: (i) inadequate or insufficient; (ii) not in conformity
with the requirements of the Bankruptcy Code, these Bidding Procedures, or the terms and
conditions of the applicable Sale Transaction; or (iii) contrary to the best interests of the Debtors
and their estates. No attempt by the Debtors to reject a Qualified Bid under this paragraph will
modify any rights of the Debtors, the Stalking Horse Bidder under the Stalking Horse Agreement
(as it may be consensually modified in writing by the Debtors and the Stalking Horse Bidder at
the Auction or prior thereto).

                                       Post-Auction Process

        Within twelve (12) hours after the Auction (if any), the Debtors shall provide the counsel
and financial advisors to the Committee and Prepetition ABL Agent with written copies of the best
and final version of each Qualified Bid submitted to the Debtors (along with any supplemental
documentation). No later than August 9, 2020 at 4:00 p.m. (prevailing Eastern Time), the
Debtors shall (i) file with the Bankruptcy Court and post on the Claims Agent Website a notice of
the Successful Bid(s), Successful Bidder(s), Back-Up Bid(s), and Back-Up Bidder(s), and (ii)
provide or cause to be provided to affected Counterparties information supporting the Successful
Bidder’s ability to comply with the requirements to provide adequate assurance of future
performance under Bankruptcy Code section 365(f)(2) and, if applicable, Bankruptcy Code section
365(b)(3), including, to the extent reasonably available and applicable, the Successful Bidder’s
financial wherewithal and willingness to perform under applicable Proposed Assigned Contracts,
as provided in such Successful Bidder’s bid. Unless otherwise required by the Debtors’ fiduciary
duties, the Debtors shall not consider any bids submitted after the conclusion of the Auction.

        Each Successful Bidder shall appear at the Sale Hearing and be prepared to have a
representative(s) testify in support of its Successful Bid and the Successful Bidder’s ability to close
in a timely manner and provide adequate assurance of its future performance under all executory
contracts and unexpired leases to be assumed and assigned as part of the applicable Sale
Transaction. Within seven (7) calendar days after the Auction (if any), the Debtors shall direct the
Escrow Agent to return the Deposits of all bidders, together with interest accrued thereon, other
than the Deposits of the Successful Bidder(s) and Back-Up Bidder(s); provided, for the avoidance
of doubt, the return of the Escrow Amount (as defined in the Stalking Horse Agreement) shall be
governed by the Stalking Horse Agreement. Within five (5) calendar days after the Back-Up Bid
Expiration Date, the Debtors shall direct the Escrow Agent to return the Deposit(s) of the Back-
Up Bidder(s), together with interest accrued thereon (if any). Upon the authorized return of any
such Deposits, the Bid associated therewith shall be deemed revoked and no longer enforceable.

        Each Successful Bidder’s deposit (if any) shall be applied against the portion of the
Purchase Price of its Successful Bid upon the consummation of the applicable Sale Transaction.
In addition to the foregoing, the deposit of any Qualified Bidder will be forfeited to the Debtors if
(i) the Qualified Bidder attempts to modify, amend, or withdraw its Qualified Bid, except as
permitted herein or with the Debtors’ written consent, during the time the Qualified Bid remains



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binding and irrevocable or (ii) except as provided herein, the Qualified Bidder is selected as a
Successful Bidder and fails to enter into the required definitive documentation or to consummate
the applicable Sale Transaction in accordance with these Bidding Procedures; provided, however,
that this paragraph shall not apply to the Escrow Amount, and such Escrow Amount shall be treated
as set forth in the Stalking Horse Agreement.

                              Notices Regarding Assumption and Assignment

        The Debtors shall provide all notices regarding the proposed assumption and assignment
of contracts and leases in accordance with the Assumption and Assignment Procedures included
in the Bidding Procedures Order.

                                             Sale Hearing

        The Debtors will seek entry of an order authorizing and approving, among other things, the
applicable Sale Transaction at a hearing before the Bankruptcy Court to be held on August 11,
2020 at 2:00 p.m. (prevailing Eastern Time) (the “Sale Hearing”). The objection deadline for
the Sale Transaction with the Stalking Horse Bidder is August 7, 2020 at 4:00 p.m. (prevailing
Eastern Time) (the “Sale Objection Deadline”). The Sale Hearing may be adjourned or
continued to a later date by the Debtors, after consultation with counsel to the Committee and the
Prepetition ABL Agent, by sending notice prior to or making an announcement at the Sale Hearing.
No further notice of any such adjournment or continuance will be required to be provided to any
party. Objections to the conduct of the Auction (if held), the Successful Bidder (other than the
Stalking Horse Bidder), or the Sale with the Successful Bidder (other than the Stalking Horse
Bidder) (each a “Supplemental Objection”) must be (i) filed in accordance with the Bidding
Procedures, (ii) filed with the Bankruptcy Court, and (iii) served on the Objection Notice Parties
on or before August 10, 2020 at 11:59 p.m. (prevailing Eastern Time) (the “Supplemental
Objection Deadline”).

         Objections to any Sale Transactions, including any objection to the sale of any Assets free
and clear of liens, claims, encumbrances, and other interests (each, a “Sale Objection”), must:
(i) be in writing; (ii) state the name and address of the objecting party and the amount and nature
of the claim or interest of such party; (iii) state with particularity the basis and nature of any
objection, and provide proposed language that, if accepted and incorporated by the Debtors, would
obviate such objection; (iv) conform to the Bankruptcy Code, Bankruptcy Rules, and Local Rules;
and (v) be filed with the Bankruptcy Court and be served on the Objection Notice Parties (as
defined in the Sale Notice) by the deadline provided in the applicable Sale Notice. In addition to
being filed with the Bankruptcy Court, any such responses or objections must be served on the
Objection Notice Parties and any such other parties as the Bankruptcy Court may order, by the
Sale Objection Deadline or Supplemental Objection Deadline (as applicable); provided, that the
Debtors may extend such Sale Objection Deadline or Supplemental Objection Deadline, as the
Debtors deem appropriate in the exercise of their reasonable business judgment. If a timely Sale
Objection or Supplemental Objection cannot otherwise be resolved by the parties, such objection
shall be heard by the Bankruptcy Court at the applicable sale hearing (which may be the Sale
Hearing).




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        Any party who fails to (i) file a Sale Objection with the Bankruptcy Court and serve it on
the Objection Notice Parties by August 7, 2020 at 4:00 p.m. (prevailing Eastern Time) or (ii)
file a Supplemental Objection on the Objection Notice Parties on or before August 10, 2020 at
11:59 p.m. will be forever barred from asserting, at the Sale Hearing or thereafter, any objection
to the consummation of the applicable Sale Transaction, any Supplemental Objection, and any
related relief requested by the Debtors.

                    Consent to Jurisdiction and Authority as Condition to Bidding

        All Potential Bidders (including the Stalking Horse Bidder) that participate in the bidding
process shall be deemed to have (i) consented to the core jurisdiction of the Bankruptcy Court with
respect to these Bidding Procedures, the bid process, the Auction, any Sale Transaction, the Sale
Hearing, or the construction and enforcement of any agreement or any other document relating to
a Sale Transaction; (ii) waived any right to a jury trial in connection with any disputes relating to
any of the foregoing; and (iii) consented to the entry of a final order or judgment in any way related
to any of the foregoing if it is determined that the Bankruptcy Court would lack Article III
jurisdiction to enter such a final order or judgment absent the consent of the parties.

                                       Reservation of Rights

        The Debtors reserve the right to, in their reasonable business judgment, in a manner
consistent with their fiduciary duties and applicable law: (i) to modify these Bidding Procedures;
(ii) waive terms and conditions set forth herein with respect to all Potential Bidders; (iii) extend
the deadlines set forth herein; and (iv) announce at the Auction the modified or additional
procedures for conducting the Auction, in each case, to the extent not materially inconsistent with
these Bidding Procedures and the Bidding Procedures Order; provided, that any such modification
or other adjustment to the Bidding Procedures shall not disproportionately affect the Stalking
Horse Bidder in any material and adverse way. Except as provided in the Stalking Horse
Agreement, nothing in these Bidding Procedures shall obligate the Debtors to consummate or
pursue any transaction with respect to any Asset with a Qualified Bidder.

                                           Fiduciary Out

        Nothing in these Bidding Procedures shall require the Debtors to take any action, or refrain
from taking any action to the extent the Debtors determine, based on the advice of counsel, that
taking such action, or refraining from taking such action, as applicable, is required to comply with
applicable law or its fiduciary obligations under applicable law.




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